           Case 3:13-cv-01449-MPS Document 1 Filed 10/02/13 Page 1 of 5



UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
                                            :
Wendy Fenn,                                 :
                                            : Civil Action No.: 3:13-cv-01449
                    Plaintiff,              :
      v.                                    :
                                            : COMPLAINT
Convergent Outsourcing, Inc.; and           :
DOES 1-10, inclusive,                       :
                                            : October 2, 2013
                    Defendants.             :
                                            :

      For this Complaint, Plaintiff, Wendy Fenn, by undersigned counsel, states

as follows:

                                    JURISDICTION

      1.      This action arises out of Defendants’ repeated violations of the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”), and the

Connecticut Unfair Trade Practices Act, Conn. Gen. Stat. § 42-110a, et seq.

(“CUTPA”), in their illegal efforts to collect a consumer debt.

      2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

      3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in

that Defendants transact business in this District and a substantial portion of the

acts giving rise to this action occurred in this District.

                                       PARTIES

      4.      Plaintiff, Wendy Fenn (“Plaintiff”), is an adult individual residing in

Newington, Connecticut, and is a “consumer” as the term is defined by 15 U.S.C.

§ 1692a(3).

      5.      Defendant Convergent Outsourcing, Inc. (“Convergent”), is a Texas

business entity with an address of 800 Southwest 39th Street, Renton,
           Case 3:13-cv-01449-MPS Document 1 Filed 10/02/13 Page 2 of 5



Washington 98055, operating as a collection agency, and is a “debt collector” as

the term is defined by 15 U.S.C. § 1692a(6).

      6.      Does 1-10 (the “Collectors”) are individual collectors employed by

Convergent and whose identities are currently unknown to Plaintiff. One or more

of the Collectors may be joined as parties once their identities are disclosed

through discovery.

      7.      Convergent at all times acted by and through one or more of the

Collectors.

                   ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

      8.      Plaintiff allegedly incurred a financial obligation (the “Debt”) to an

original creditor (the “Creditor”).

      9.      The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes, which meets the definition

of a “debt” under 15 U.S.C. § 1692a(5).

      10.     The Debt was purchased, assigned or transferred to Convergent for

collection, or Convergent was employed by the Creditor to collect the Debt.

      11.     Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. Convergent Engages in Harassment and Abusive Tactics

      12.     In or May 2013, Convergent contacted Plaintiff’s parents in an

attempt to collect the Debt. The Debt had previously been discharged in

Plaintiff’s Chapter 7 bankruptcy.

      13.     Convergent disclosed to Plaintiff’s parents that it is a debt collector
                                           2
         Case 3:13-cv-01449-MPS Document 1 Filed 10/02/13 Page 3 of 5



and that Plaintiff had an outstanding electric bill, and further discussed the Debt

with Plaintiff’s parents in detail.

       14.    The disclosure of the Debt to Plaintiff’s parents caused her a great

deal of stress and embarrassment.

       15.    Further, Convergent failed to inform Plaintiff of her rights under state

and federal law by written correspondence within 5 days after its initial contact

with Plaintiff.

   C. Plaintiff Suffered Actual Damages

       16.    Plaintiff has suffered and continues to suffer actual damages as a

result of Defendants’ unlawful conduct.

       17.    As a direct consequence of Defendants’ acts, practices and conduct,

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety,

emotional distress, fear, frustration and embarrassment.

                                     COUNT I
                  VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       18.    Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       19.    Defendants’ conduct violated 15 U.S.C. § 1692c(b) in that Defendants

disclosed the details of the Debt to Plaintiff’s parents.

       20.    Defendants’ conduct violated 15 U.S.C. § 1692e in that Defendants

used false, deceptive, and/or misleading representations or means in connection

with collection of the Debt.

       21.    Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that

Defendants employed false and deceptive means to collect the Debt.


                                           3
         Case 3:13-cv-01449-MPS Document 1 Filed 10/02/13 Page 4 of 5



       22.    Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants

used unfair and unconscionable means to collect the Debt.

       23.    Defendants’ conduct violated 15 U.S.C. § 1692g(a) in that Defendants

failed to send Plaintiff a letter within five days of its initial contact with Plaintiff.

       24.    The foregoing acts and omissions of Defendants constitute

numerous and multiple violations of the FDCPA.

       25.    Plaintiff is entitled to damages as a result of Defendants' violations.

                               COUNT II
     VIOLATIONS OF THE CONNECTICUT UNFAIR TRADE PRACTICES ACT,
                    Conn. Gen. Stat. § 42-110a, et seq.

       26.    Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       27.    Defendants are each individually a “person” as defined by Conn.

Gen. Stat. § 42-110a(3).

       28.    Defendants engaged in unfair and deceptive acts and practices in the

conduct of its trade, in violation of Conn. Gen. Stat. § 42-110b(a).

       29.    Plaintiff is entitled to damages as a result of Defendants’ violations.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendants:

                 1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

                 2. Statutory damages of $1,000.00 pursuant to 15 U.S.C.

                     §1692k(a)(2)(A);

                 3. Costs of litigation and reasonable attorney’s fees pursuant to 15

                     U.S.C. § 1692k(a)(3);

                 4. Actual damages pursuant to Conn. Gen. Stat. § 42-110g;

                                             4
        Case 3:13-cv-01449-MPS Document 1 Filed 10/02/13 Page 5 of 5



               5. Punitive damages; and

               6. Such other and further relief as may be just and proper.

                  TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: October 2, 2013

                                     Respectfully submitted,

                                     By     /s/ Sergei Lemberg

                                     Sergei Lemberg, Esq.
                                     LEMBERG & ASSOCIATES L.L.C.
                                     1100 Summer Street, 3rd Floor
                                     Stamford, CT 06905
                                     Telephone: (203) 653-2250
                                     Facsimile: (203) 653-3424
                                     Attorney for Plaintiff




                                        5
